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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


JOSEPH E. LAWRENCE,
                                                             JUDGMENT
                             Plaintiff,
v.                                                           Case Number: 2:22-cv-00325-ART-EJY

DR. MICHAEL MINEV, et al.,

                             Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

 X       Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that this action is dismissed without prejudice based on
Plaintiff’s failure to complete an application to proceed in forma pauperis or pay the full $402 filing fee in
compliance with this Court’s March 7, 2022, and June 3, 2022, orders.
        IT IS FURTHER ORDERED that Plaintiff’s pending motions (ECF Nos. 1-3, 2, 5) are denied as
moot.
        IT IS FURTHER ORDERED that judgment is hereby entered accordingly and this case is closed. No
other documents may be filed in this now-closed case. If Plaintiff wishes to pursue his claims, he must file a
complaint in a new case.




          8/11/2022
